Case 4:24-cv-06307-JST Document15 Filed 12/04/24

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Attorney or Party without Attorney:
Dena C. Sharp, Esq.
Girard Sharp LLP
601 California Street, 14th Floor
San Francisco, CA 94108
Telephone No: 415-981-4800 FAX No: 415-981-4846

Ref. No. or File No.:

Attorney for: Plaintiff(s)

Insert name of Court, and Judicial District and Branch Court:
United States District Court - Northern District Of California

Plaintiff(s): M.M. and N.N.
Defendant: Coopersurgical, Inc., et al

for Court Use Only

PROOF OF SERVICE Hearing Date: Time: Dept/Div:
Summons and Complaint

Case Number:

24CV06307IST

1. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of the Summons in a Civil Action; Complaint; Civil Cover Sheet; Plaintiff's Certification of Interested Entities or
Persons; Order Setting Initial Case Management Conference and ADR Deadlines; Order Directing Clerk to Directly Assign and Relate
Newly Filed Cases and to Allow Plaintiffs to Proceed Pseudonymously; Standing Order for All Judges; Standing Order for Judge Jon

Tigar; Clerks Notice regarding CMC

3. a. Party served: Coopersurgical, Inc.
b. Person served:

Rebecca Vang, Service of Process Intake Clerk, Asian, Female, 35 Years Old, Black

Hair, Brown Eyes, 5 Feet 5 Inches, 150 Pounds.

4. Address where the party was served: Corporation Service Company
2710 Gateway Oaks Dr. # 150N

Sacramento, CA 95833
3. [served the party:

a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive

process for the party (1) on: Mon., Sep. 16, 2024 (2) at: 12:42PM
7. Person Who Served Papers:

Recoverable Cost Per CCP 1033.5(a)(4)(B)

a. Robert J. Mason d. The Fee for Service was:

b. Class Action Research & Litigation e. Iam: (3) registered California process server
P O Box 740 (i) Independent Contractor
Penryn, CA 95663 (ti) Registration No.: 03-007

c. (916) 663-2562, FAX (916) 663-4955 (iii) County: Placer

(iv) Expiration Date: Fri, Oct. 31, 2025

8. I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: Mon, Sep, 16, 2024

til

Judicial Council F PROOF OF SERVICE
Rule 2.180.(ay&(b) Rev January 1, 2007 Summons and Complaint

(Robert J. Mason) desha.269967
